           Case 2:05-cr-00281-JLR       Document 138      Filed 08/04/05    Page 1 of 3




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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )               CASE NO.CR05-281-JLR
                                 )
12         v.                    )
                                 )
13                               )               DETENTION ORDER
    OSIEL GUZMAN-SILVERIO        )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE , COCAINE, AND
18            HEROIN - Title 21, U.S.C., Sections 841(a)(1,841(b)(1)(A), and 846
19 Date of Detention Hearing: August 3, 2005.
20            The court, having conducted an uncontested detention hearing pursuant to 18
21 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
22 hereafter set forth, finds that no condition or combination of conditions which the Defendant
23 can meet will reasonably assure the appearance of the Defendant as required and the safety
24 of any other person and the community. The Defendant was represented by Howard Ratner.
25 The Government was represented by Kelly Neumeister.
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     DETENTION ORDER
     PAGE -1-
         Case 2:05-cr-00281-JLR       Document 138       Filed 08/04/05    Page 2 of 3




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 3       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 4 (1)     There is probable cause to believe the Defendant committed the offense in this
 5         case. The maximum penalty for this offense is in excess of ten years.
 6         Therefore, there is a rebuttable presumption against the Defendant’s release
 7         based upon both dangerousness and flight risk, under 18 U.S.C. § 3142(e).
 8 (2)     The Defendant is viewed as a risk of nonappearance due to the following
 9         factors: he is a native and citizen of Mexico who has previously been removed
10         from the U.S.; his ties to the district are unknown; he has a history of failing to
11         appear at court hearings and an outstanding misdemeanor warrant.
12 (3)     Furthermore, the Defendant is viewed as a danger to the community due to the
13         nature of the instant offense.
14 (4)     The Defendant did not contest detention.
15 (5)     Based upon the foregoing information, it appears that there is no condition or
16         combination of conditions that would reasonably assure future Court
17         appearances and/or the safety of other persons or the community.
18
19          It is therefore ORDERED:
20         (l)    The Defendant shall be detained pending trial and committed to the
21                custody of the Attorney General for confinement in a correction facility
22                separate, to the extent practicable, from persons awaiting or serving
23                sentences or being held in custody pending appeal;
24         (2)    The Defendant shall be afforded reasonable opportunity for private
25                consultation with counsel;
26         (3)    On order of a court of the United States or on request of an attorney for

     DETENTION ORDER
     PAGE -2-
         Case 2:05-cr-00281-JLR     Document 138       Filed 08/04/05    Page 3 of 3




 1               the Government, the person in charge of the corrections facility in which
 2               the Defendant is confined shall deliver the Defendant to a United States
 3               Marshal for the purpose of an appearance in connection with a court
 4               proceeding; and
 5         (4)   The clerk shall direct copies of this order to counsel for the United
 6               States, to counsel for the Defendant, to the United States Marshal, and to
 7               the United States Pretrial Services Officer.
 8         DATED this 4th day of August, 2005.
 9
10                                           s/ Monica J. Benton
11                                           MONICA J. BENTON
                                             United States Magistrate Judge
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     DETENTION ORDER
     PAGE -3-
